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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                       UNITED STATES DISTRICT COURT                  September 13, 2018
                        SOUTHERN DISTRICT OF TEXAS                    David J. Bradley, Clerk
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                §
                                        §
     v.                                 §   CRIMINAL NO. H-17-431
                                        §
STEPHEN P. LYNCH                        §


                                    ORDER

     The Government's Motion to Dismiss Count Three is GRANTED.



     SIGNED at Houston, Texas, on   #              !d1 c20 /f."
